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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

RITACCA COSMETIC SURGERY AND                                 )
MED SPA, Ltd., an Illinois LLC, BLACK                        )
ALSATIANS, LLC d/b/a PIGMENT                                 )
DEMOGRAPHICS AND LASER REMOVAL,                              )
a Texas LLC, SAXON HATCHETT, DR. THOMAS                      )
BURKE, BURKE DERMATOLOGY, P.A.,                              )
DR. ISABEL BANUCHI, BANUCHI INSTITUTE,                       )       Case No. 15-cv-50148
DR. STEPHEN SNYDER, DERMATOLOGY                              )
LASER CENTER & MEDISPA, THE FACIAL                           )
SURGERY CENTER, and ALL OTHERS                               )
SIMILARLY SITUATED,                                          )
                                                             )       Judge Frederick Kapala
        Plaintiffs,                                          )
                                                             )   Magistrate Judge Iain Johnston
v.                                                           )
                                                             )
CYNOSURE, INC., a Delaware Corporation,                      )
                                                             )
        Defendant.                                           )

               MOTION TO WITHDRAW AS COUNSEL FOR DEFENDANT

        NOW COMES Attorney, Albert M. Bower, and hereby requests that this Honorable

Court enter an Order granting him leave to withdraw as counsel for Defendant, Cynosure, Inc.

(hereinafter, “Defendant”). In support thereof, Attorney Bower states:

        1.      Albert M. Bower entered an appearance as counsel for Defendant, Cynosure, Inc.,

in this matter. (Dkt. #15).

        2.      Albert M. Bower’s appearance in this matter is no longer required.

        3.      Granting the instant motion will not cause prejudice to the Court or to any party,

and Defendant will have legal representation at all times in this matter.

        WHEREFORE, Attorney, Albert M. Bower, respectfully requests that this Honorable

Court enter an Order granting him leave to withdraw as counsel for Defendant, Cynosure, Inc.
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January 22, 2018

                                            Respectfully submitted,



                                      By:   /s/ Albert M. Bower
                                            Counsel for Defendant, CYNOSURE, INC.


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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on January 22, 2018 he served the above Motion to

Withdraw as Counsel for Defendant on all attorneys of record. This pleading was served upon

the attorneys as listed above, pursuant to the Northern District of Illinois General Order on

Electronic Case Filing.


                                                         [x]     Pursuant to 28 USC Section
                                                         1746(2), I certify under penalty of
                                                         perjury that the foregoing is true and
                                                         correct. Executed on: January 22,
                                                         2018.


                                                                /s/ Albert M. Bower




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